

Bersin Props., LLC v County of Monroe Indus. Dev. Agency (2017 NY Slip Op 09058)





Bersin Props., LLC v County of Monroe Indus. Dev. Agency


2017 NY Slip Op 09058


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


1467 CA 17-00515

[*1]BERSIN PROPERTIES, LLC, PLAINTIFF-APPELLANT,
vCOUNTY OF MONROE INDUSTRIAL DEVELOPMENT AGENCY, DEFENDANT-RESPONDENT, ET AL., DEFENDANTS. (APPEAL NO. 4.) 






QUINN EMANUEL URQUHART &amp; SULLIVAN, LLP, NEW YORK CITY (ANDREW R. DUNLAP OF COUNSEL), FOR PLAINTIFF-APPELLANT.
HARRIS BEACH PLLC, PITTSFORD (PHILIP G. SPELLANE OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Matthew A. Rosenbaum, J.), entered June 30, 2016. The judgment directed plaintiff to pay certain monies to defendant County of Monroe Industrial Development Agency. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








